         Case 1:21-cr-00092-TNM Document 80 Filed 02/23/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-CR-092 (TNM)
                                                  :
              v.                                  :
                                                  :
 COUY GRIFFIN,                                    :    VIOLATIONS:
                                                  :    18 U.S.C. § 1752(a)(1)
                       Defendant.                 :    (Entering and Remaining in a
                                                  :    Restricted Building or Grounds)
                                                  :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building or Grounds)

                           SECOND AMENDED INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, COUY GRIFFIN, did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, COUY GRIFFIN, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
         Case 1:21-cr-00092-TNM Document 80 Filed 02/23/22 Page 2 of 2




Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052


                                    By:               /s/Janani Iyengar
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